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                                                                           November 2, 2020


    VIA ECF
    Hon. Analisa Torres
    United States District Judge
    United States District Court
    Southern District of New York
    500 Pearl Street
    New York, New York 10007

                                  Re: Vidal Solar et al. v. Fresh Direct, LLC et al.
                                      Case No. 1:20-cv-03431 (AT)
                                      Letter Motion-On Consent

    Dear Judge Torres:

           Our firm represents defendants Fresh Direct, LLC and Fresh Direct Holdings, Inc.
    (“Defendants”), in the above referenced action. We write jointly with Plaintiffs to respectfully
    request a further adjournment of the Court’s initial pretrial conference, currently scheduled for
    November 10, 2020, in contemplation of mediation.

            The parties have been working collaboratively to collect the information necessary for a
    productive mediation, including applicant data for the entire 2015 to 2020 class period. This has
    been a time intensive task, involving the collection and compilation of data for thousands of
    applicants, over multiple years, and from multiple consumer reporting agencies. Unfortunately,
    because Defendants do not maintain an applicant database containing all of this information, it is
    not a turnkey exercise to produce the relevant data. Defendants have devoted substantial time,
    effort and resources to manually create readable excel sheets with all of the relevant applicant data.

            While the parties had hoped to have already completed this time and labor intensive
    process, given the sheer volume of data, Defendants have been unable to complete the process as
    of yet. To date, Defendants have compiled data in a useable format for the years 2016, 2017 and
    part of 2018, and will be providing Plaintiffs with that data within the next week. We anticipate
    the data for the latter part of 2018, as well as all of 2019 and the first half of 2020 will be available
    within a few weeks.

           We do not believe that the mediation will be productive if the parties do not have the
    applicant data and ample time to analyze that data. Accordingly, the parties have asked Mr.

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